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FD-302 (Rev. 5-8-10)

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                                                  FEDERAL BUREAU OF INVESTIGATION



                                                                                                                          Date of entry       08/26/2021



                         , US CAPITOL POLICE (USCP), HOUSE DIVISION, SECTION 2,
        Washington DC, telephone             , email                        , was
        interviewed via telephone. After being advised of the identity of the
        interviewing Agent and the nature of the interview,        provided the
        following information:

           On January 6, 2021,                                       confiscated two knives and a pepper spray
        container from DAVID RHINE.                                        described the three items as follows:

        Pepper Spray - Small Cylinder, Black/Silver, Brand Name - Sabre Red, used
        for self defense, a little bigger than the key chain type, not bear spray,
        no indication the pepper spray was used. It did not have any residue on the
        exterior.

        Smaller Knife - Approximately 2 inches long, folding, utility type knife,
        common knife.

        Larger Knife - Approximately 3 inches long, Brand Name - Karambit type,
        curved, folding blade.

           From his training and experience,        uses his fingers to estimate the
        length of knives he finds during searches in the US Capitol area.

                  explained all three items were legal in Washington DC and on
        Federal property. The items were not allowed in the US Capitol building,
        but        believed the restriction was just administrative. If someone was
        found with the items, they were escorted out of the US Capitol building or
        surrendered the items and filled out a contraband for destruction form 103a
        if they didn't want to leave.

                  believed the pepper spray was in RHINE's bag and the two knives in
        his coat.         disposed of the two knives in his office break room


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   Investigation on    08/24/2021           at   Tacoma, Washington, United States (Phone)

   File #   266O-SE-3414305                                                                                                  Date drafted    08/26/2021

   by   Marty Trevino
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                            (U//FOUO) Second Interview of Jeffrey
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          trash. He took the pepper spray home, emptied the spray in the woods behind
          his house, and threw the empty canister into the trash.         explained
          January 6, 2021 was very chaotic and felt that was the best way to dispose
          of the pepper spray and canister.

                    sent the writer an email with website links to items similar to
          the knives and pepper spray he confiscated from RHINE on January 6, 2021.
          The email is attached to this report.

          [Agent Note: Miss LISA NICOLE WALTERS, SENIOR COUNSEL, OFFICE OF THE
          GENERAL COUNSEL, GENERAL LAW DIVISION, US CAPITOL POLICE, telephone
              , email                      , and Miss ALISON B. PROUT, ASSITANT UNITED
          STATES ATTORNEY, NORTHERN DISTRICT OF GEORGIA, telephone              were
          part of the telephonic interview.]




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